
Morgan, J.
This appeal is from a judgment for plaintiff in an action to quiet title, and is fully determined by the opinion in the two cases just decided, Lougee et al. v. Wilson (No. 3581), ante, 70, 131 Pac., 777, and Empire Co. v. Wilson (No. 3585), ante, 83, 131 Pac., 779. However, appellant on this appeal urges with extreme vigor the defense of laches denied by the lower court. The plaintiff, in this action must be in possession, or have sufficient title to give constructive possession; there is' no statute limiting the time within which the action may be commenced; the very nature of the remedy presupposes an impregnable position; it is only to allay the clamor of adverse claimants, force them into court to assert their claims and have them' determined and the plaintiff’s title quieted that the remedy is provided. His delay, therefore, can only be measured by his forbearance as to the annoyance of adverse claimants who “fear their fate too much” to begin an action themselves, and if the doctrine of laches is applicable in such action at all, it affects the defendant rather than the plaintiff.—Cofee v. Emigh, 15 Colo., 184. *91191, 25 Pac., 83, 10 L. R. A., 125; Nichols v. McIntosh, 19 Colo., 22, 28, 34 Pac., 278; Terry v. Gibson, 23 Colo. App., 273, 128 Pac., 1127.

Judgment Affirmed.

